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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


ALLSTATE INSURANCE COMPANY;
ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY               C.A. No. 19-cv-13721-LVP-EAS
INSURANCE COMPANY; ESURANCE
INSURANCE COMPANY; and                   Honorable Linda V. Parker
ESURANCE PROPERTY AND                    Magistrate Judge Elizabeth A. Stafford
CASUALTY INSURANCE COMPANY,

               Plaintiffs,

vs.

INSCRIBED PLLC; INTEGRATIVE
NEUROLOGY PLLC; DIAGNOSTIC
SOLUTIONS LLC; WOOK KIM, M.D.,
P.C. d/b/a FARMBROOK
INTERVENTIONAL PAIN & EMG;
DETROIT INSTITUTE OF PAIN
MUSCULOSKELETAL MEDICINE
PLLC; MICHIGAN INSTITUTE OF
MUSCULOSKELETAL MEDICINE
PLLC; ZMC PHARMACY, L.L.C.;
INTEGRA LAB MANAGEMENT LLC;
GIREESH VELUGUBANTI, M.D.;
ARVINDER DHILLON, M.D.; BACHU
ABRAHAM, M.D.; and JALAL
ZAWAIDEH, R.PH.,

              Defendants.



       STIPULATION OF DISMISSAL WITH PREJUDICE AS TO
         DEFENDANTS ZMC PHARMACY L.L.C. AND JALAL
                      ZAWAIDEH, R.PH
Case 2:19-cv-13721-LVP-EAS ECF No. 148, PageID.4947 Filed 07/29/22 Page 2 of 5




      Pursuant to Fed. R. Civ. P. 41(a), it is hereby stipulated and agreed by and

between Plaintiffs Allstate Insurance Company, Allstate Property and Casualty

Insurance Company, Allstate Fire and Casualty Insurance Company, Esurance

Insurance Company, and Esurance Property and Casualty Insurance Company




Complaint (Docket No. 1) be dismissed with prejudice as to Defendants ZMC

Pharmacy L.L.C. and Jalal Zawaideh, R.Ph. without costs or fees of any kind to any

party. It is hereby agreed by the parties that this Court shall retain jurisdiction to

enforce the terms of settlement reached between the parties.

      STIPULATED AND AGREED TO THIS 28th DAY OF JULY, 2022:

 Plaintiffs Allstate Insurance Company, ZMC Pharmacy             L.L.C.   and   Jalal
 Allstate Property and Casualty         Zawaideh, R.Ph.,
 Insurance Company, Allstate Fire and
 Casualty Insurance Company,
 Esurance Insurance Company, and
 Esurance Property and Casualty
 Insurance Company,

 By their Attorneys,                       By their Attorneys,

 /s/ Barry Gross                           /s/ Nathan J. Fink
 Barry Gross                               David H. Fink
 Barry.Gross@faegredrinker.com             dfink@finkbressack.com
 Andrew Reeve                              Nathan J. Fink
 Andrew.Reeve@faegredrinker.com            nfink@finkbressack.com
 FAEGRE DRINKER BIDDLE &                   FINK BRESSACK
 REATH LLP                                 38500 Woodward Ave, Ste. 350
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


ALLSTATE INSURANCE COMPANY;
ALLSTATE PROPERTY AND
CASUALTY INSURANCE COMPANY;
ALLSTATE FIRE AND CASUALTY               C.A. No. 19-cv-13721-LVP-EAS
INSURANCE COMPANY; ESURANCE
INSURANCE COMPANY; and                   Honorable Linda V. Parker
ESURANCE PROPERTY AND                    Magistrate Judge Elizabeth A. Stafford
CASUALTY INSURANCE COMPANY,

               Plaintiffs,

vs.

INSCRIBED PLLC; INTEGRATIVE
NEUROLOGY PLLC; DIAGNOSTIC
SOLUTIONS LLC; WOOK KIM, M.D.,
P.C. d/b/a FARMBROOK
INTERVENTIONAL PAIN & EMG;
DETROIT INSTITUTE OF PAIN
MUSCULOSKELETAL MEDICINE
PLLC; MICHIGAN INSTITUTE OF
MUSCULOSKELETAL MEDICINE
PLLC; ZMC PHARMACY, L.L.C.;
INTEGRA LAB MANAGEMENT LLC;
GIREESH VELUGUBANTI, M.D.;
ARVINDER DHILLON, M.D.; BACHU
ABRAHAM, M.D.; and JALAL
ZAWAIDEH, R.PH.,

              Defendants.


   STIPULATED ORDER OF DISMISSAL WITH PREJUDICE AS TO
DEFENDANTS ZMC PHARMACY L.L.C. AND JALAL ZAWAIDEH, R.PH
Case 2:19-cv-13721-LVP-EAS ECF No. 148, PageID.4950 Filed 07/29/22 Page 5 of 5




      This matter having come before the Court upon stipulation of the parties,

and the Court being otherwise fully advised in the premises:



Defendants ZMC Pharmacy L.L.C. and Jalal Zawaideh, R.Ph, are hereby

dismissed with prejudice and without costs to any party. The Court shall retain

jurisdiction over this matter only to enforce the terms of settlement reached

between the parties.

      IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE
 Dated: July 29, 2022
